Case 23-13359-VFP
  UNITED                 DocCOURT
         STATES BANKRUPTCY   1420 Filed 07/20/23 Entered 07/20/23 17:12:25                                  Desc Main
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  Caption in Compliance with D.N.J. LBR 9004-1(b)
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   In re:                                                            Chapter 11

   BED BATH & BEYOND INC., et al.,                                   Case No. 23-13359 (VFP)

                                                                     (Jointly Administered)
            Debtors.1


               ORDER PURSUANT TO SECTIONS 365 AND 363 APPROVING THE
                  ASSUMPTION AND ASSIGNMENT AGREEMENT WITH
                                    ALDI INC.

            The relief set forth on the following pages, numbered two (2) through eight (8), is

  ORDERED.




  DATED: July 20, 2023




          1
                    The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A
 complete list of the Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be
 obtained on the website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The
 location of Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these
 Chapter 11 Cases is 650 Liberty Avenue, Union, New Jersey 07083.



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          Upon the Debtors’ Motion for Entry of an Order Establishing Procedures to Sell Certain

 Leases, (II) Approving the Sale of Certain Leases, and (III) Granting Related Relief

 (the “Motion”),2 of the above-captioned debtors and debtors in possession (collectively,

 the “Debtors”), authorizing and approving, among other things, (a) the Lease Sale Procedures,

 and (b) the Debtors’ right to consummate Lease Sales, including through Assumption and

 Assignment Agreements between the Debtors and the prospective assignee, all as more fully set

 forth in the Motion; and upon the First Day Declaration; and the Court having jurisdiction to

 consider the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and

 the Standing Order of Reference to the Bankruptcy Court Under Title 11 of the United States

 District Court for the District of New Jersey, entered July 23, 1984, and amended on September

 18, 2012 (Simandle, C.J.); and this Court having found that venue of this proceeding and the

 Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having

 found that the relief requested in the Motion is in the best interests of the Debtors’ estates, their

 creditors, and other parties in interest; and this Court having found that the Debtors’ notice of the

 Motion was appropriate under the circumstances and no other notice need be provided; and this

 Court having reviewed the Motion and having heard the statements in support of the relief

 requested therein at a hearing before this Court (the “Hearing”); and this Court having

 determined that the Debtors having complied with the Lease Sale Procedures, and that the

 Debtors’ entry into the Assumption and Assignment Agreement is in the best interest of the



          2
                  Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the
 Motion or the Assumption and Assignment Agreement attached hereto as Exhibit 1 (the “Assumption and
 Assignment Agreement”), as applicable.



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 Debtors and their estates and provides for the highest or best offer for the Lease (as defined in

 the Assumption and Assignment Agreement); and upon all of the proceedings had before the

 Court and after due deliberation and sufficient cause appearing therefor IT IS HEREBY

 ORDERED THAT:

          1.       The Debtors and Assignee (as defined in the Assumption and Assignment

 Agreement) are authorized to enter into and perform under the Assumption and Assignment

 Agreement, and to implement the Assumption and Assignment Agreement and the transactions

 contemplated thereunder and hereunder. The Assumption and Assignment Agreement and all of

 the terms and conditions thereof is hereby approved in all respects.

          2.       Pursuant to sections 105(a), 363(b)(1) and (f) and 365(a) of the Bankruptcy Code,

 the Debtors are hereby authorized and directed to (a) sell and assume and assign to Assignee, in

 accordance with the terms of the Assumption and Assignment Agreement, the Lease (as

 identified in the Assumption and Assignment Agreement), free and clear of any and all licenses,

 tenants and/or subtenants, license and concession agreements for all or any part of the Premises,

 and all liens, claims and encumbrances, with such license and concession agreements for all or

 any part of the Premises, and all liens, claims and encumbrances to attach to the proceeds

 received on account of such transfer in the same order of priority and with the same validity,

 force and effect that any creditor had prior to the transfer, subject to any claims and defenses the

 Debtors and the Debtors’ estates may have with respect thereto, and (b) execute and deliver to

 the Assignee such documents or other instruments as the Assignee deems necessary to assign and

 transfer the Lease to Assignee.




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          3.       Assignee has demonstrated adequate assurance of future performance and has

 satisfied the requirements set forth in section 365(b)(1)(C) of the Bankruptcy Code with respect

 to the Lease. Assignee is a good faith purchaser of the Lease within the meaning of section

 363(m) of the Bankruptcy Code.

          4.       There shall be no rent accelerations, assignment fees, increases or any other fees

 charged to Assignee or the Debtors as a result of the assumption and assignment of the Lease.

          5.       Effective as of the date of entry of this Order, the assignment of the Lease by the

 Debtors to Assignee shall constitute a legal, valid, and effective transfer of such Lease

 notwithstanding any requirement for approval or consent by any person and vests Assignee with

 all right, title, and interest of the Debtors in and to such Lease, free and clear of all liens, claims,

 and encumbrances pursuant to sections 363(f) and 365 of the Bankruptcy Code.

          6.       Any provisions in the Lease that prohibit or condition the assignment of such

 Lease or allow the landlord of such Lease (hereinafter, the “Landlord”) to terminate, declare a

 breach or default, recapture, impose any penalty, condition any renewal or extension, or modify

 any term or condition, as a result of the assignment of such Lease constitute unenforceable anti-

 assignment provisions and are void and of no force and effect as against the Debtors and

 Assignee in connection with the assumption and assignment of the Lease. The Lease shall

 remain in full force and effect, without existing defaults, subject only to payment by of the

 appropriate Cure Costs, if any.

          7.       Upon payment of the applicable Cure Costs, the Landlord is hereby barred and

 permanently enjoined from asserting against the Debtors and Assignee any default, claim, or

 liability existing, accrued, arising, or relating to the Leases for the period prior to the entry of this


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 Order. The Cure Costs are hereby fixed in the amount of $46,804.86, comprised of amounts

 asserted by the Landlord to be due totaling $1,276.58 for a 2022 CAM adjustment following application

 of a credit for the benefit of Debtors, and (b) an unresolved materialman’s lien against the Leased

 Property in the approximate amount of $45,528.28; provided, however, that the Landlord shall not be

 barred from seeking additional amounts on account of any defaults occurring between the

 deadline to object to Cure Costs set forth in the Assumption and Assignment Notice and the

 Assumption Date, including interest and additional charges to which the materialman is entitled, if any.

          8.       Assignee shall be deemed to be substituted for the Debtors as a party to the Lease

 and the Debtors shall be relieved, pursuant to section 365(k) of the Bankruptcy Code, from any

 further liability under the Lease from and after the Assumption Date.

          9.       The terms and conditions of this Order shall be immediately effective and

 enforceable upon entry of this Order. The provisions of this Order authorizing the assignment of

 the Leases shall be self-executing, and neither the Debtors nor Assignee shall be required to

 execute or file assignments, consents or other instruments in order to effectuate, consummate,

 and/or implement provisions of this Order. Each and every federal, state, and local governmental

 agency or department is hereby authorized to accept any and all documents and instruments

 necessary and appropriate to effect, consummate, and/or implement the transactions

 contemplated by this Order. A certified copy of this Order may be filed with the appropriate

 clerk and/or recorded with the recorder to act to effectuate, consummate, and/or implement to the

 extent necessary the provisions of this Order.

          10.      To the extent the Lease contains use restrictions which would otherwise prohibit

 Assignee from operating at the applicable leased premises in the ordinary course of its business,


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 including any restrictions on the sale of some or all of the items and goods typically sold by

 Assignee, such use restriction provisions are deemed to be unenforceable anti-assignment

 provisions pursuant to section 365(f) of the Bankruptcy Code; provided, however, nothing

 contained herein shall affect or limit the express use rights of other tenants in the shopping center

 that are in effect as of the date of the entry of this order (but not to the extent the same would

 prohibit or otherwise limit Assignee’s rights to operate as a prototypical “Aldi” grocery store).

          11.      Notwithstanding any term of the Lease to the contrary, any extension, renewal

 option, or other rights contained in such Lease that purports to be personal only to a Debtor or

 Debtors or to a named entity in such Lease or to be exercisable only by a Debtor or Debtors or by

 a named entity or an entity operating under a specific trade name may be freely exercised to their

 full extent by the Assignee, in accordance with the terms of such Lease. The Debtors have

 timely exercised any applicable extension or renewal options under the Lease, and the Lease is in

 all in full force and effect. The Debtors have not previously rejected the Lease and the Debtors’

 period to assume or reject the Lease has not otherwise expired.

          12.      With respect to any provision of the Lease providing for calculation of rent based

 on a percentage of annual sales, for the annual period in which the Closing Date occurs,

 Assignee shall only be responsible for the prorated portion of percentage rent attributable to the

 period after the Closing Date calculated on a per diem basis.

          13.      Notwithstanding any provision of the Lease (including any related reciprocal

 easement agreement or declaration of covenants and restrictions or other land use agreement

 (each, an “REA”) or any ground or master lease (each, a “Master Lease”)) to the contrary,

 including a covenant of continuous operation or a “go dark” provision, Assignee shall not be


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 required to operate its business from the leased premises for a reasonable period of time after the

 entry of this Order, in order to perform alterations and remodeling which shall be done in a

 manner consistent with the terms of the Lease and to replace and modify existing signage to the

 extent necessary to operate at the premises under as a Assignee store and consistent with its

 business operations and the terms of the Lease. Notwithstanding any provision of the Lease to

 the contrary (including any related REA or Master Lease), to the extent the Landlord’s consent is

 required for any such alteration or signage modification, the Landlord’s consent thereto shall not

 be unreasonably withheld, conditioned, or delayed. If such alterations or signage modifications

 are consistent with Assignee’s other locations, such consent shall not be required provided that

 Assignee complies with applicable law.

          14.      The Landlord shall cooperate in good faith and use commercially reasonable

 efforts to execute and deliver, upon the request of Assignee, any instruments, applications,

 consents, or other documents that may be required by any public or quasi-public authority or

 other party or entity, for the purpose of obtaining any permits, approvals, or other necessary

 documents required for alteration, installation of signage, opening, and operating the Premises;

 provided that the Landlord does not incur any out of the ordinary material out-of-pocket costs as

 a result of such cooperation.

          15.      Notwithstanding anything to the contrary in this Order or the Assumption and

 Assignment Agreement, none of the Debtors’ insurance policies (and/or any agreements related

 thereto between any of the Debtors, on the one hand, and the applicable insurer(s) and/or third-

 party administrators, on the other hand) shall be abandoned, sold, assigned, or otherwise

 transferred pursuant this Order.


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          16.      The Debtors are authorized to take all actions necessary to effectuate the relief

 granted pursuant to this Order in accordance with the Motion.

          17.      The Debtors and Assignee are authorized to take any and all actions reasonably

 necessary or appropriate to consummate the Assumption and Assignment Agreement and the

 transactions contemplated thereunder and hereunder.

          18.      In the event of any inconsistencies between this Order, the Motion, and the

 Assumption and Assignment Agreement, this Order shall govern.

          19.      Notwithstanding Bankruptcy Rules 6004(h) or 6006(d), or any other Bankruptcy

 Rule or Local Rule, to the extent applicable, this Order shall be effective and enforceable

 immediately upon entry hereof.

          20.      Notice of the Motion as provided therein shall be deemed good and sufficient

 notice of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are

 satisfied by such notice.

          21.      The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

 accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

 or otherwise waived.

          22.      This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Order.




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                                         Exhibit 1

                            Assumption and Assignment Agreement




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                         ASSUMPTION AND ASSIGNMENT AGREEMENT

          This ASSIGNMENT AND ASSUMPTION AGREEMENT (the “Agreement”), dated as of July
 14, 2023, is by and between Bed Bath & Beyond Inc. (“Assignor”) and Aldi Inc. or its designee
 (“Assignee”). For the avoidance of doubt, all provisions of the applicable assigned contract, including any
 provision limiting future assignment, shall be binding on the applicable Assignee after consummation of
 the assignment of such contract by the Debtors to the Assignee.

                                                RECITALS

          WHEREAS, Assignor, along with its affiliated debtors and debtors in possession, has filed a
 voluntary petition for relief pursuant to chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§ 101
 et seq. (as amended, the “Bankruptcy Code”), in the United States Bankruptcy Court for the District of New
 Jersey (the “Court”), jointly administered under case In re Bed Bath & Beyond, Inc., Case No. 23-13359
 (VFP) (Bankr. D.N.J. 2023) (the “Chapter 11 Cases”);

          WHEREAS, Assignor has agreed to assign and Assignee has agreed to assume the unexpired
 lease(s) listed on Schedule A attached hereto (the “Assigned Asset(s)” or the “Lease(s)”) with respect to
 the premises set forth on Schedule A (the “Premises”), pursuant to the terms and conditions of the Lease
 Sale Procedures for the Sale of Certain Lease Assets (the “Lease Sale Procedures”) subject to approval by
 the Court in the Chapter 11 Cases; and.

          WHEREAS, Assignee intends to occupy and use the Premises for operation of the Assignee’s
 prototypical “Aldi Food Market” retail grocery store and other uses as are incidental to the operation of a
 retail grocery store or for any other lawful retail purposes allowed by the Lease (the “Intended Use”);

         NOW, THEREFORE, in consideration of the premises and the mutual agreements herein
 contained, the parties hereto agree as follows:

                                              AGREEMENT

         1.      Assignment and Assumption. On the Effective Date (defined hereafter),

                 (a)      Assignor hereby sells, transfers, conveys, assigns and sets over to Assignee, its
 successors and assigns, all of Assignor’s right, title, and interest in and to the Assigned Asset(s).

                 (b)     Except as may be agreed in writing by the Landlord or as provided in the Sale
 Order (as defined below), Assignee hereby assumes and undertakes to pay, perform, and discharge all of
 Assignor’s obligations and duties with respect to the Assigned Asset(s); provided, however, the Assignee
 shall not be responsible for and does not assume any responsibility for any personal injury or property
 damage claims that accrued or arose before the Effective Date.

         2.      Payment of Purchase Price. Assignee shall, on the date hereof, deliver the purchase price
 for the Assigned Asset(s) in the amount of $132,771.26, less credit for cure costs enumerated herein that
 are paid by Aldi. Specifically, following the conclusion of the auction, the Landlord with respect to the
 Lease filed an Objection by Landlord Chenal Place Properties, LLC to Debtors’ Proposed Assumption and
 Assignment of Lease (Doc 1284), which asserts that (a) Landlord is owed $1,276.58 for a 2022 CAM
 adjustment following application of a credit for the benefit of Debtor, and (b) an unresolved materialman’s
 lien against the Leased Property exists in the amount of $45,528.28. In addition, Aldi has agreed to
 reimburse Assignor for the monthly rent first due and payable July 1, 2023 in the sum of $32,771.26
 provided such sum was paid by Assignor to Landlord. Accordingly Assignee shall pay Assignor the total
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 amount of $118,737.66 (the “Purchase Price”). Except as otherwise agreed by Assignee in writing,
 Assignee shall not be responsible for payment of rent and other charges that first come due pursuant to the
 Lease prior to the Effective Date. If the Closing (defined hereafter) does not occur on or before July 31,
 2023, unless otherwise agreed in writing by Assignor and Assignee, Assignee shall be relieved from any
 obligation to complete the transaction and Assignor shall promptly return to Assignee the earnest money
 deposit previously paid by Assignee.

          3.      Closing and Effective Date of Assignment. Unless otherwise agreed to in writing by
 Assignee, the closing of the assignment of the Assigned Assets (the “Closing”) shall take place on the later
 of (i) one (1) business day following Bankruptcy Court Approval and entry of an order by the Bankruptcy
 Court approving the assumption and assignment of the Assigned Assets to Assignee (the “Sale Order”),
 provided there is no stay pending appeal, and (ii) the date agreed to by Assignor and Assignee in writing.

          4.      Assumption of Liabilities. In addition to assuming all remaining obligations that exist with
 respect to the Assigned Asset(s), including, but not limited to, accrued but unbilled adjustments for common
 area maintenance, real estate taxes, and insurance, Assignee shall assume and cure all outstanding liabilities
 with respect to the Assigned Asset(s); provided, however, Assignee shall not be responsible for and does
 not assume any liability or responsibility whatsoever for any personal injury or property damages claim
 that accrued or arose before the Effective Date.

         5.      Sale Order Conditions. The obligations of Assignee to consummate the Closing
 hereunder is expressly subject to and conditioned upon the entry of the Sale Order by the Bankruptcy
 Court under sections 363 and 365 of the Bankruptcy Code in form and substance reasonably satisfactory
 to Assignee. At a minimum, the Sale Order shall:

                    (a)     General Conditions. (i) authorize and approve the sale and assignment of the
 Assigned Assets by Assignor to Assignee free and clear of all mortgages, liens, liabilities, claims,
 encumbrances, and interests in accordance with the terms of this Agreement under sections 105(a) and
 363(f) of the Bankruptcy Code, (ii) contain a finding that Assignor and Assignee have acted in “good
 faith” within the meaning of section 363(m) of the Bankruptcy Code and also finding that Assignee is not
 a “successor in interest” of Assignor, (iii) order that, notwithstanding Rules 6004(g) and 6006(d) of the
 Federal Rules of Bankruptcy Procedure, the Sale Order shall take effect immediately upon entry, (iv)
 order that there shall be no rent accelerations, assignment fees, increases or other fees charged or
 chargeable to Assignee as a result of the sale and assignment of the Assigned Assets, (v) include an
 exhibit stating that the entirety of the documents comprising the Assigned Assets is the same as those
 documents provided by Assignor to Assignee prior to the Effective Date, (vi) order that the Landlord shall
 cooperate and expeditiously execute and deliver, upon the reasonable request of Assignee and at no cost
 to Landlord, any instruments, applications, consents or other documents which may be required by any
 governmental agency for the purpose of obtaining permits, approvals or other necessary documents
 required for the alteration, opening and operating of the Premises by Assignee, and (vii) authorize the
 rejection of all license and concession agreements pursuant to which Assignor has granted any party a
 license, access or right to use all or any portion of the Premises for any purpose whatsoever.

                   (b)    Lease Specific Conditions. (i) notwithstanding anything to the contrary
 contained in the Lease, any reciprocal easement agreement or declaration of covenants and restrictions or
 other land use agreement (each an “REA”), any ground or master lease (each a “Master Lease”) or local
 law, (ii) authorize Assignee to perform alterations, remodel, and to replace and modify existing signage
 with signage consistent with such signage utilized by Assignee at other locations for the store concept
 Assignee will operate at the Premises notwithstanding any provision in the Lease, REA, any Master
 Lease, or local law to the contrary, (iii) find that the Intended Use is an authorized use under the terms of
 the Assigned Assets and order that the Assigned Assets are being sold and assigned to Assignee free and
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 clear of any use restrictions or limitations contained in the Assigned Assets, any REA, any Master Lease,
 or any other lease agreement or document to the contrary, and any such restriction or limitation is
 expressly unenforceable as against the Assignee, (iv) order that terms and provisions in the Lease such as
 “going dark” prohibitions, alteration restrictions, use restrictions, recapture provisions, clauses which
 impose a fee or a penalty or a profit sharing upon assignment, clauses which seek to increase the rent or
 impose a penalty or to modify or terminate a lease, a Master Lease, or REA as a result of going dark or
 upon assignment, provisions which directly or indirectly limit or condition or prohibit assignment, rights
 of first refusal or purchase option provisions in favor of third parties, continuous operating covenants,
 covenants that any user of the Premises conveyed by the Lease operate under the name of the Assignor
 and/or operate with a use similar to Assignor’s use, and similar provisions contained in any REA or any
 Master Lease, shall not restrict, limit or prohibit the sale and assignment of the Assigned Assets to
 Assignee, and declare and find such clauses to be anti-assignment clauses within the meaning of sections
 365(f) of the Bankruptcy Code, and (v) order that extension and renewal options contained in the Lease
 which purport to be personal only to Assignor or any predecessor in interest of Assignor or to be
 exercisable only by Assignor or any predecessor in interest of Assignor constitute an unenforceable
 restriction on assignment and may be freely exercised by Assignee to its full extent.

         6.       No Further Liability of Assignor. From and after the Effective Date with respect to the
 Assigned Assets, except as provided herein or in the Sale Order, Assignor shall have no further obligations
 and duties with respect to the Assigned Asset(s).

          7.      Further Assurances. At any time and from time to time after the date hereof, at the request
 of Assignee, and without further consideration, Assignor shall execute and deliver such other instruments
 of sale, transfer, conveyance, assignment, and confirmation or consents and take such other action as
 Assignee may reasonably request as necessary or desirable in order to more effectively transfer, convey,
 and assign to Assignee Assignor’s rights to the Assigned Asset(s).

          8.       “As Is Where Is” Transaction. Assignee hereby acknowledges and agrees that Assignor
 makes no representations or warranties whatsoever, express or implied, with respect to any matter relating
 to the Assigned Asset(s). Without limiting the foregoing, Assignor hereby disclaims any warranty (express
 or implied) of merchantability or fitness for any particular purpose as to any portion of the Assigned
 Asset(s). Assignee further acknowledges that the Assignee has conducted an independent inspection and
 investigation of the physical condition of the Assigned Asset(s) and all such other matters relating to or
 affecting the Assigned Asset(s) as Assignee deemed necessary or appropriate and that in proceeding with
 its acquisition of the Assigned Asset(s), Assignee is doing so based upon such independent inspections and
 investigations. Accordingly, Assignee will accept the Assigned Asset(s) “AS IS” and “WHERE IS.”

         9.      Possession. On the Effective Date, the Assignor agrees to deliver Assignee vacant
 possession of the Premises, with all personal property of any tenant or occupant removed and otherwise in
 broom clean condition, unless otherwise agreed to in writing by Assignor and Assignee.

         10.      Compliance With Law. Assignee hereby agrees to comply with all applicable laws.
 Assignee agrees to indemnify and hold Assignor harmless for any violation or alleged violation of this
 section with respect to the Assigned Assets being conveyed by Assignor.

         11.      Governing Law. This Agreement shall be governed by and construed in accordance with
 the laws of the State of New York without regard to principles of conflicts of law.

        12.    Jurisdiction. The Parties consent to the exclusive jurisdiction of the United States
 Bankruptcy Court for the District of New Jersey with respect to all matters arising under or relating to this
 Agreement. The Parties hereby irrevocably waive any objection on the grounds of venue, forum non
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 conveniens, or any similar grounds and irrevocably consent to service of process by mail or in any other
 manner permitted by applicable law. The Parties further hereby waive any right to a trial by jury with
 respect to any lawsuit or judicial proceeding arising or relating to this Agreement.

         13.       No Reliance. Each Party represents and warrants that in entering into this Agreement it is
 relying on its own judgment, belief and knowledge and, as applicable, on that of any attorney it has retained
 to represent it in this matter. In entering into this Agreement, no Party is relying on any representation or
 statement made by any other Party or any person representing such other Party.

          14.     Construction. This Agreement has been drafted through a cooperative effort of both
 Parties, and neither Party shall be considered the drafter of this Agreement so as to give rise to any
 presumption of convention regarding construction of this document. All terms of this Agreement were
 negotiated in good faith and at arm’s-length, and this Agreement was prepared and executed without fraud,
 duress, undue influence, or coercion of any kind exerted by any of the Parties upon the other. The execution
 and delivery of this Agreement is the free and voluntary act of the Parties.

         15.     Execution in Counterparts. This Agreement may be executed in one or more counterparts,
 each of which shall be deemed an original, but all of which together shall constitute one and the same
 instrument. All signatures of the Parties to this Agreement may be transmitted by facsimile or by electronic
 mail, and such transmission will, for all purposes, be deemed to be the original signature of such Party
 whose signature it reproduces, and will be binding upon such Party.
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                                                Schedule A

                                       Description of Lease Asset(s)



       Store #228 – Lease for property located at 12309 Chenal Parkway, Suite A, Little Rock, AR
